              Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 APPLIED BIOKINETICS LLC                        §
                                                §
 Plaintiff,                                     §
                                                §
 v.                                             §    Civil Action No. 6:21-cv-555
                                                §
 CVS PHARMACY, INC.,                            §    JURY DEMANDED
                                                §
 Defendant.                                     §
                                                §
                                                §

               PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Applied Biokinetics LLC (“ABK” or “Plaintiff”) files this Complaint for patent

infringement against CVS Pharmacy, Inc. (“CVS” or “Defendant”).

                                         THE PARTIES

1.       Plaintiff ABK is a Texas limited liability company with a place of business in Spring,

Texas.

2.       On information and belief, Defendant CVS Pharmacy, Inc. is a corporation organized and

existing under the laws of Delaware.

3.       On information and belief, CVS Pharmacy, Inc. is registered to do business in Texas, and

may be served through its registered agent for service of process, CT Corporation System, 1999

Bryan St., Suite. 900, Dallas, Texas 75201.

4.       On information and belief, CVS owns and operates pharmacies and retail medical clinics

inside Target Corporation’s stores.

                                JURISDICTION AND VENUE




PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                     Page 1
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 2 of 13




5.     This is an action for patent infringement arising under the patent laws of the United States,

Title 35, United States Code. Jurisdiction as to these claims is conferred on this Court by 35 U.S.C.

§§1331 and 1338(a).

6.     This Court has personal jurisdiction over CVS because, directly or through intermediaries,

CVS has committed acts within the Western District of Texas giving rise to this action and/or has

established minimum contacts with the Western District of Texas such that the exercise of

jurisdiction would not offend traditional notions of fair play and substantial justice.

7.     Venue is proper in this District under 28 U.S.C. §§ 1391(b), (c), (d) and 1400(b). CVS is

registered to do business in Texas and, upon information and belief, CVS has transacted business

in this District and has committed acts of direct and indirect infringement in this District by, among

other things, importing, offering to sell, and selling products that infringe ABK’s patents, as

explained below. CVS maintains regular and established places of business in the Western District

of Texas, including at 500 Congress Ave, Austin, Texas 78701; 601 N. Valley Mills Drive, Waco,

Texas 76710; 1513 S. Valley Mills Drive, Waco, Texas 76711; 5401 Bosque Blvd., Waco, Texas

76710; and 820 S. 5th St., Waco, TX 76706, shown below:




PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                         Page 2
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 3 of 13




8.     In addition, CVS has placed or contributed to placing infringing products into the stream

of commerce via an established distribution channel knowing or understanding that such products

would be sold and used in the United States, including in the Western District of Texas.

9.     This Court has specific personal jurisdiction over CVS at least in part because CVS

conducts business in this Judicial District. ABK’s causes of action arise, at least in part, from

CVS’s contacts with and activities in the State of Texas and this Judicial District. Upon information

and belief, the CVS has committed acts of infringement within the State of Texas and this Judicial

District by, inter alia, directly and/or indirectly making, using, selling, offering to sell, or

importing products that infringe one or more claims of ABK’s patents described below. CVS’s

infringing acts within this Judicial District give rise to this action and have established minimum

contacts with the forum state of Texas. On information and belief, CVS also has derived

substantial revenues from infringing acts in this Judicial District, including from the sale and use

of infringing products including, but not limited to, the products accused of infringement below.

                                  FACTUAL BACKGROUND

10.    ABK was founded in 2008 by Donald P. Bushby, an engineer and prolific inventor who

has invented and validated several innovative technology solutions.

11.    In the early 2000’s, Mr. Bushby had learned about the activity of “roller-skiing,” a sport

like rollerblading utilizing two inline wheels supporting an elongated ski-like structure. To slow

down, users of the devices needed to squat down and pull upward on handles attached to cables.

Mr. Bushby developed an improved braking approach that simulated a “snowplow” effect by

rotating the binding to translate into a braking force, while the skis remained parallel. While

developing and testing his invention, Mr. Bushby developed a muscular injury that persisted for

weeks, and led to excruciating pain. In discussing his injury with his doctor, Mr. Bushby learned

that he had a micro-tear in the fascia of his injured muscle resulting in inflammation and pain, the

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                        Page 3
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 4 of 13




standard treatment for which was to receive cortisone injections.        Mr. Bushby refused the

injections, believing that such treatment was painful, expensive, and did not properly address the

root issue involving the damaged fascia. Mr. Bushby went on to perform research at his local

library to learn more about the body, biomechanics, stress, and the tough connective tissue known

as fascia. He concluded that there was a need for a system to: treat pain, provide direct anatomical

support, and protect fascia from damaging stress, thus allowing tissue healing and rapid pain

recover that was inexpensive, fast acting and easy to apply at home. This led Mr. Bushby to

develop a novel system which included pre-cut parts with an adhesive layer and removable cover

layer for ease of handling and self-application. The system includes a single woven support layer

with high strength and low elongation in at least one direction, such that when it is applied to the

body part it can provide support and reduce stress on the underlying fascia.

12.     Mr. Bushby founded Applied BioKinetics to develop and commercialize his ideas.

13.     ABK is an inventor-controlled entity.

14.     ABK is a practicing entity that has

commercialized     its   intellectual   property

through licensing and also through the

development and sale of products.           For

example, ABK developed the FasciaDerm line

of products as show here:



                               TECHNOLOGY BACKGROUND

15.     Several of the products accused of infringement below are products that are used to treat

fascia injury.

                                  EXEMPLARY PRODUCTS

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                       Page 4
               Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 5 of 13




16.       Examples of products accused of infringement (the “Exemplary Products”) below include:

         Target-brand Kinesiology Tape (“Target Tape”)

         CVS-brand Kinesiology Tape

         CVS-brand Pro Strength Kinesiology Tape (together with the CVS product above, “CVS

          Tape”)

         KT Tape (original)

         KT Tape Gentle

         KT Tape Pro

         KT Tape Pro Extreme (together with the KT products above, “KT Tape”)

         StrengthTape (products sold in pre-cut rolls and also the “StrengthTape Kinesiology Tape

          Kit – Ankle & Foot”, collectively “StrengthTape”)

                                                COUNT I

                         INFRINGEMENT OF U.S. PATENT NO. 8,414,511

17.       ABK incorporates by reference the paragraphs above as if fully set forth herein.

18.       On April 9, 2013, United States Patent No. 8,414,511 (the ’511 Patent”) entitled “System

for Treatment of Plantar Fasciitis” was duly and legally issued after full and fair examination.

ABK is the owner of all right, title, and interest in and to the patent by assignment, with full right

to bring suit to enforce the patent, including the right to recover for past infringement damages and

the right to recover future royalties, damages, and income. A true copy of the ’511 Patent is

attached as Exhibit 1.

19.       The ’511 Patent is valid and enforceable.




PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                         Page 5
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 6 of 13




20.    CVS has directly infringed and continues to directly infringe, literally and/or under the

doctrine of equivalents, one or more claims, including at least claims 1 - 4, 26, 31 - 34, and 361 of

the ’511 Patent in violation of 35 U.S.C. § 271(a) because CVS makes, uses, offers for sale, sells,

and/or imports certain products, including within this District, at least Target Tape, CVS Tape, KT

Tape, and StrengthTape (“’511 Accused Products”).

21.    The ’511 Accused Products satisfy all claim limitations of one or more of the claims of the

’511 Patent, including at least claims 1 - 4, 26, 31 - 34, and 36.

22.    Exemplary charts comparing the asserted claims of the ’511 Patent to exemplars of CVS’s

products are attached as Exhibits 3-10.

23.    CVS has received notice and actual or constructive knowledge of the ’511 Patent and the

infringing nature of the ’511 Accused Products since at least the date of service of this Complaint.

24.    Since at least the date of service of this Complaint, through its actions, CVS has indirectly

infringed and continues to indirectly infringe the ’511 Patent in violation of 35 U.S.C. § 271(b).

CVS has actively induced product makers, distributors, retailers, and/or end users of the ’511

Accused Products to directly infringe the ’511 Patent throughout the United States, including

within this Judicial District, by, among other things, advertising and promoting the use of the ’511

Accused Products in various websites, including providing and disseminating product

descriptions, product packaging, enclosed product instructions, and other instructions on how to

configure and/or use the ’511 Accused Products. CVS does so knowing and intending that its

customers and end users will commit these infringing acts, including infringement of claims 1 - 6,

12 - 21, 23, 24, 26 - 34, and 362 of the ’511 Patent. CVS also continues to make, use, offer for


1
  ABK does not presently allege direct infringement of claim 36 of the ’511 Patent as to Target
Tape.
2
  ABK does not presently allege indirect infringement of claims 14, 15, 21, 23, 24, and 27 of the
’511 Patent as to Target Tape, or claim 15 of the ’511 Patent as to CVS Tape.

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                        Page 6
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 7 of 13




sale, sell, and/or import the ’511 Accused Products, despite its knowledge of the ’511 Patent,

thereby specifically intending for and inducing its customers to infringe the ’511 Patent through

the customers’ normal and customary use of the ’511 Accused Products.

25.    In addition, CVS has indirectly infringed and continues to indirectly infringe the ’511

Patent in violation of 35 U.S.C. § 271(c) by selling or offering to sell in the United States, or

importing into the United States, the ’511 Accused Products with knowledge that they are

especially designed or adapted to operate in a manner that infringes that patent and despite the fact

that the infringing aspects of the products are not a staple article of commerce suitable for

substantial non-infringing use. In addition, the ’511 Accused Products include instructions, both

on the product packaging and separately included inside of the product packaging, wherein each

of the printed instructions is an apparatus for use in practicing the invention of the ’511 Patent,

and wherein such instructions are a material part of the invention, and wherein such instructions

are especially made or especially adapted for use in an infringement, are not a staple article or

commodity of commerce, and are not suitable for substantial noninfringing use. CVS is aware

that the ’511 Accused Products enable end-users to configure and/or use the product to infringe

the ’511 Patent, including claims 1 - 6, 12 - 21, 23, 24, 26 - 34, and 36. In particular, the product

descriptions, product packaging, enclosed product instructions, and other instructions for the ’511

Accused Products teach that the ’511 Accused Products are especially made or especially adapted

for use in an infringement of the ’511 Patent. CVS continues to sell and offer to sell these products

in the United States after receiving notice of the ’511 Patent and how the products’ use and/or

configuration infringe that patent. In addition, the infringing aspects of the ’511 Accused Products

can be used only in a manner that infringes the ’511 Patent and thus have no substantial non-

infringing uses.




PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                        Page 7
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 8 of 13




26.    ABK has suffered damages as a result of CVS’s direct and indirect infringement of the

’511 Patent in an amount adequate to compensate for CVS’s infringement, but in no event less

than a reasonable royalty for the use made of the invention by CVS, together with interest and

costs as fixed by the Court.

                                                COUNT II

                       INFRINGEMENT OF U.S. PATENT NO. 8,968,229

27.    ABK incorporates by reference the paragraphs above as if fully set forth herein.

28.    On March 3, 2015, United States Patent No. 8,968,229 (the ’229 Patent”) entitled

“Disposable Two-Part Orthotic Foot Support Strap System and Method” was duly and legally

issued after full and fair examination. ABK is the owner of all right, title, and interest in and to

the patent by assignment, with full right to bring suit to enforce the patent, including the right to

recover for past infringement damages and the right to recover future royalties, damages, and

income. A true copy of the ’229 Patent is attached as Exhibit 2.

29.    The ’229 Patent is valid and enforceable.

30.    Since at least the date of service of this Complaint, through its actions, CVS has indirectly

infringed and continues to indirectly infringe the ’229 Patent in violation of 35 U.S.C. § 271(b).

The infringing nature of CVS’s inducement of infringement involves, at least Target Tape, CVS

Tape, KT Tape, and StrengthTape (“’229 Accused Products”). CVS has received notice and actual

or constructive knowledge of the ’229 Patent and the infringing nature of the ’229 Accused

Products since at least the date of service of this Complaint. CVS has actively induced product

makers, distributors, retailers, and/or end users of the ’229 Accused Products to directly infringe

the ’229 Patent throughout the United States, including within this Judicial District, by, among

other things, advertising and promoting the use of the ’229 Accused Products in various websites,

including providing and disseminating product descriptions, product packaging, enclosed product

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                        Page 8
             Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 9 of 13




instructions, and other instructions on how to configure and/or use the ’229 Accused Products.

CVS does so knowing and intending that its customers and end users will commit these infringing

acts, including infringement of claim 12 of the ’229 Patent. CVS also continues to make, use,

offer for sale, sell, and/or import the ’229 Accused Products, despite its knowledge of the ’229

Patent, thereby specifically intending for and inducing its customers to infringe the ’229 Patent

through the customers’ normal and customary use of the ’229 Accused Products.

31.    CVS’s inducement includes all steps of one or more of the claims of the ’229 Patent,

including at least claim 12.

32.    Exemplary charts comparing the asserted claims of the ’229 Patent to exemplars of CVS’s

products are attached as Exhibits 11-18.

33.    In addition, CVS has indirectly infringed and continues to indirectly infringe the ’229

Patent in violation of 35 U.S.C. § 271(c) by selling or offering to sell in the United States, or

importing into the United States, the ’229 Accused Products with knowledge that they are

especially designed or adapted to operate in a manner that infringes that patent and despite the fact

that the infringing aspects of the products are not a staple article of commerce suitable for

substantial non-infringing use. In addition, the ’229 Accused Products include instructions, both

on the product packaging and separately included inside of the product packaging, wherein each

of the printed instructions is an apparatus for use in practicing the invention of the ’229 Patent,

and wherein such instructions are a material part of the invention, and wherein such instructions

are especially made or especially adapted for use in an infringement, are not a staple article or

commodity of commerce, and are not suitable for substantial noninfringing use. CVS is aware

that the ’229 Accused Products enable end-users to configure and/or use the product to infringe

the ’229 Patent, including claim 12. In particular, the product descriptions, product packaging,

enclosed product instructions, and other instructions for the ’229 Accused Products teach that the

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                        Page 9
            Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 10 of 13




’229 Accused Products are especially made or especially adapted for use in an infringement of the

’229 Patent. CVS continues to sell and offer to sell these products in the United States after

receiving notice of the ’229 Patent and how the products’ use and/or configuration infringe that

patent. In addition, the infringing aspects of the ’229 Accused Products can be used only in a

manner that infringes the ’229 Patent and thus have no substantial non-infringing uses.

34.    ABK has suffered damages as a result of CVS’s direct and indirect infringement of the

’229 Patent in an amount adequate to compensate for CVS’s infringement, but in no event less

than a reasonable royalty for the use made of the invention by CVS, together with interest and

costs as fixed by the Court.

                       KNOWLEDGE, WILLFULNESS, AND MARKING

35.    ABK incorporates by reference the paragraphs above as if fully set forth herein.

36.    The patents identified above are collectively known as the Asserted Patents.

37.    CVS had knowledge of the Asserted Patents since, at least, 2015 when CVS sold

FasciaDerm and PFTape products, either through CVS stores or Target stores (which CVS

acquired), which products were marked with the numbers of the Asserted Patents, or patents which

shared common priority with the Asserted Patents.




PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                    Page 10
            Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 11 of 13




38.    To the extent any marking or notice was required by 35 U.S.C. § 287, ABK has complied

with the applicable marking and/or notice requirements of 35 U.S.C. § 287.

39.    CVS had knowledge of the Asserted Patents since, at least, prior to the filing of this lawsuit

when CVS received ABK’s letter disclosing and attaching each of the Asserted Patents, and

identifying several of CVS’s products utilizing claims of such patents which were also identified

in ABK’s letter.

40.    CVS had knowledge of the Asserted Patents since, at least, the filing date of the original

complaint in this action.

41.    CVS’s infringement has been and continues to be willful and deliberate. Upon information

and belief, CVS deliberately infringed the Asserted Patents and acted recklessly and in disregard

to the Asserted Patents by making, having made, using, importing, and offering for sale products

that infringe the Asserted Patents. Upon information and belief, the risks of infringement were

known to CVS and/or were so obvious under the circumstances that the infringement risks should

have been known. Upon information and belief, CVS has no reasonable non-infringement

theories. Upon information and belief, CVS has not attempted any design/sourcing change to

avoid infringement.     CVS has acted despite an objectively high likelihood that its actions

constituted infringement of the Asserted Patents. In addition, this objectively-defined risk was

known or should have been known to CVS. Upon information and belief, CVS has willfully

infringed and/or continues to willfully infringe the Asserted Patents. CVS’s actions of being made

aware of its infringement, not developing any non-infringement theories, not attempting any

design/sourcing change, and not ceasing its infringement constitute egregious behavior beyond

typical infringement.

                                DEMAND FOR JURY TRIAL

ABK hereby demands a jury for all issues so triable.

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                       Page 11
            Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 12 of 13




                                            PRAYER

       WHEREFORE, ABK prays for judgment that:

1.     CVS has infringed and continues to infringe, one or more claims of United States Patent

Nos. 8,414,511 and 8,968,229;

2.     CVS be ordered to pay damages caused to ABK by CVS’s unlawful acts of infringement;

3.     CVS’s acts of infringement have been, and are, willful;

4.     ABK recover actual damages under 35 U.S.C. § 284;

5.     ABK be awarded supplemental damages for any continuing post-verdict infringement up

until final judgment;

6.     ABK be awarded a compulsory ongoing royalty;

7.     ABK be awarded an accounting of damages;

8.     ABK be awarded enhanced damages for willful infringement as permitted under the law;

9.     A judgment and order requiring CVS to pay to ABK pre-judgment and post-judgment

interest on the damages awarded, including an award of pre-judgment interest, pursuant to 35

U.S.C. § 284, from the date of each act of infringement by CVS to the day a damages judgment

is entered, and a further award of post-judgment interest, pursuant to 28 U.S.C. § 1961,

continuing until such judgment is paid, at the maximum rate allowed by law;

10.    An award to ABK of the costs of this action and its reasonable attorneys’ fees pursuant to

35 U.S.C. §285; and

11.    Such other and further relied as the Court deems just and equitable.



DATED: June 2, 2021                             Respectfully submitted,

                                                Robert D. Katz

                                                Derek Gilliland

PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                     Page 12
            Case 6:21-cv-00555 Document 1 Filed 06/02/21 Page 13 of 13




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PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT                                     Page 13
